 Case 19-10782         Doc 164    Filed 03/31/20 Entered 03/31/20 09:10:08            Desc Main
                                   Document     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                    (Eastern Division)



In re
                                                     Chapter 13
        ANDREW GREENHUT,
                                                     Case No. 19-10782-FJB
                       Debtor.



             ASSENTED-TO MOTION TO AMEND DISCOVERY SCHEDULE

        Gita Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew

Greenhut (the “Debtor”), hereby requests that this Honorable Court enter an Order amending the

discovery schedule in this matter. The Debtor has assented to the relief requested herein. In

support of this Motion, Srivastava represents as follows:

        1.     By Order of this Court dated January 3, 2020 [Doc. No. 148] (the “Pretrial

Order”), the Court established a discovery schedule in this matter. The discovery deadline

established therein was February 28, 2020. Prior to the expiration of such deadline, Srivastava’s

counsel and counsel to the Debtor agreed to an extension of the deadline to accommodate

ongoing discovery, including the continued deposition of the Debtor.

        2.     Discovery issues have arisen between the parties, which they are working

amicably to resolve.

        3.     In light of the current crisis occasioned by COVID-19, the continued deposition

of the Debtor presents practical challenges. The parties require additional time to address those

challenges so as to proceed with the deposition in a safe and efficient manner.
 Case 19-10782         Doc 164     Filed 03/31/20 Entered 03/31/20 09:10:08             Desc Main
                                    Document     Page 2 of 3



          4.     Furthermore, given the evidentiary nature of this dispute and the necessity of a

trial, an extension increases the likelihood that in-person hearings might again be conducted in

the Court.

          5.     Accordingly, Srivastava requests that the discovery schedule be amended as

follows:

                 a.     All fact discovery shall be completed by May 31, 2020;

                 b.     A joint pretrial memorandum shall be filed by June 30, 2020;

                 c.     The further pretrial hearing shall be continued to a date after July 31,
                        2020; and

                 d.     The evidentiary hearing shall be continued to a date after August 31, 2020;

          6.     Counsel to the Debtor has reviewed this Motion and assents to the relief requested

herein.

          WHEREFORE, Srivastava requests that the Court enter an Order: (i) allowing this

Motion; (ii) approving the discovery schedule proposed herein; and (iii) granting such other and

further relief as just and necessary.

                                                   Respectfully submitted,

                                                   GITA SRIVASTAVA,

                                                   By her attorneys,


                                                   /s/ Alex F. Mattera
                                                   Alex F. Mattera, BBO No. 641760
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Dated: March 31, 2020




                                                  2
 Case 19-10782       Doc 164     Filed 03/31/20 Entered 03/31/20 09:10:08           Desc Main
                                  Document     Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 31st day of March 2020 I caused to be served
a copy of the above pleading on all parties registered for electronic service through the CM/ECF
system.

                                                    /s/ Alex F. Mattera
                                                    Alex F. Mattera




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